                       Case 1:09-cv-00019 Document 33 Filed 09/15/09 Page 1 of 4



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               6   Attorney for Defendants Matthew T. Gregory, Gregory
                   Baka, Anthony Welch and Tom Schweiger.
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               8
               9                              IN THE UNITED STATES DISTRICT COURT
              10                              FOR THE NORTHERN MARIANA ISLANDS
              11
              12   RANDALL T. FENNELL,                            CIVIL ACTION NO. 09-0019
              13                 Plaintiff,
              14
                                         vs.
              15
                   MATTHEW T. GREGORY, former                     DEFENDANTS’ NOTICE OF
              16   Attorney General, GREGORY BAKA,                SUPPLEMENTAL CITATION OF
                   Acting Attorney General, ANTHONY               AUTHORITY.
              17
                   WELCH, Assistant Attorney General,
              18   TOM J. SCHWEIGER, Assistant Attorney
                   General, and DOES 1-20, in their official
              19   and individual capacities,
              20                 Defendants.
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LA/576564v1

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                        Case 1:09-cv-00019 Document 33 Filed 09/15/09 Page 2 of 4



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                                    NOTICE OF SUPPLEMENTAL CITATION OF AUTHORITY.
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                          As discussed at the hearing on Defendants’ Motion to Dismiss, Matthew T. Gregory,
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               4   Gregory Baka, Anthony Welch, and Tom Schweiger file this Supplemental Citation of Authority.

               5          Under Ninth Circuit case law, when a plaintiff's claim can be analyzed under, “an explicit

               6   textual source of rights in the Constitution,” a court may not analyze that claim under the “more
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                   subjective standard of substantive due process.” Hufford v. McEnaney, 249 F.3d 1142, 1151 (9th
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                   Cir.2001) (internal quotation marks and citations omitted) (declining to consider a plaintiff's
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                   substantive due process claim where the rights violated were protected under the First
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              11   Amendment).

              12          In Hufford, Mr. Hufford alleged that the defendants violated his clearly established rights
              13   when they discharged him for reporting that fellow firefighters had downloaded a large cache of
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                   hard core pornographic files on the firestation's computers. Mr. Hufford’s claim also indicated a
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                   substantive due process claim; his liberty interest in his job. See Id., at 1151. The Ninth Circuit,
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                   however, ruled that the defendants were entitled to qualified immunity on the due process
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              18   property claim because “plaintiff's claim can be analyzed under an explicit textual source of rights

              19   in the Constitution, a court should not resort to the “more subjective standard of substantive due
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                   process.” See, id. The Court went on to say that “because the First Amendment explicitly covers
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                   Hufford’s claim, the First Amendment, ‘not the Fourteenth Amendment’s guarantee of
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                   substantive due process, should guide the analysis of the [plainitff’s] claims.’” See id, (citations
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              24   omitted).

              25          Similarly, Mr. Fennell complains that the acts taken by the Attorney General Defendants
              26   deprived him of both his First Amendment right to free speech and his substantive property right
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                   to “conflict free counsel”. Mr. Hufford alleged that he lost his property rights due to retaliation
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LA/576564v1

                                                                     -2-
                        Case 1:09-cv-00019 Document 33 Filed 09/15/09 Page 3 of 4



               1   for the exercise of his free speech. Similarly, Mr. Fennell has stated that the motive behind the
               2   alleged deprivation of his property interest was retaliation for the exercise of his free speech.
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                   Thus, under Hufford, Mr. Fennell’s due process claim should be dismissed because of the First
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                   Amendment claim.1
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               9                                                           Respectfully submitted
              10                                                           Wednesday, August 06, 2009
                                                                           OFFICE OF THE ATTORNEY GENERAL
              11
              12
                                                                                      /S/
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                                                                           Braddock Huesman, F#00367
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              17      Additionally, other courts have affirmed that when plaintiffs have asserted a substantive due
                   process and a viable First Amendment claim for the very same conduct, they “have declined to
              18   ‘enter the uncharted thicket of substantive due process to find an avenue of relief.’” Ramirez v.
                   Arlequin, 447 F.3d 19, 25 (1st Cir.2006) (quoting Nestor Colon-Medina & Sucesores, Inc. v.
              19   Custodio, 964 F.2d 32, 46 (1 st Cir.1992)); see also Corales v. Bennett, 488 F.Supp.2d 975, 985
              20   (C.D.CA. 2007) (holding that a substantive due process claim based on a First Amendment
                   violation “is duplicative of [the] First Amendment claim and is not actionable under the rubric of
              21   ‘substantive due process' ”); Marras v. City of Livonia, No. 07-12562, 2007 U.S. Dist. LEXIS
                   80884, *7-8, 2007 WL 3227594 (E.D.Mich. Nov. 1, 2007) (dismissing the plaintiffs' substantive
              22   due process claims where the allegedly unconstitutional actions fall under First Amendment
                   protections); Williams v. Luttrell, No. 06-2777, 2007 U.S. Dist. LEXIS 81408, *22, 2007 WL
              23
                   3236662 (W.D.Tenn. Nov. 1, 2007) (dismissing as duplicative a substantive due process claim
              24   based on allegations of retaliation for exercising First Amendment rights); Battiste v. Lamberti,
                   571 F.Supp.2d 1286, 1292, n. 2 (S.D.Fla.2008) (noting that because the First Amendment
              25   provides an explicit source of protection against violations of free speech rights, the First
                   Amendment and not the more generalized right to substantive due process governs the
              26   constitutionality of the events”); Kasprzycki v. DiCarlo, 584 F.Supp.2d 470, 478 (D.Conn.2008)
              27   (holding that where a plaintiff asserts a First Amendment claim and a substantive due process
                   claim based on the same events, “these events must be analyzed under the elements of a First
              28   Amendment retaliation claim and not the more general theory of substantive due process”).

LA/576564v1

                                                                     -3-
                       Case 1:09-cv-00019 Document 33 Filed 09/15/09 Page 4 of 4



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               3                                   CERTIFICATE OF SERVICE

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                          I certify that a copy of Defendants’ Motion to Enlarge Time was served on Mark Hanson
               5   who is the attorney in charge for plaintiff, Mr. Fennell, and whose address is PMB 738, PO Box
                   10000, Saipan, MP 96950, (670) 233-8600, by electronic filing on Tuesday, September 15, 2009.
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               8                                       __/s/_______________________
               9                                       Braddock J. Huesman

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LA/576564v1

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